  Case 11-27934       Doc 807      Filed 10/02/18 Entered 10/02/18 14:20:09            Desc Main
                                    Document     Page 1 of 3



                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


     ARNOLD R. DORMER, JR.,                                        Case No. 11-27934-PJD

             Debtor                                                Chapter 11


 MOTION TO DETERMINE LOAN BALANCES OWED BY REORGANIZED DEBTOR
     TO DITECH FINANCIAL LLC, AS ASSIGNEE OF BANK OF AMERICA



        Comes now Arnold R. Dormer, Jr., the Reorganized Dormer (“Dormer”), by counsel, and

moves the Court, pursuant to the terms of the Confirmed Plan of Reorganization, to determine

proper balances owed by Dormer to Ditech Financial LLC, as assignee of Bank of America, and in

support of his Motion, would show the Court as follows:

                                              FACTS

       1.      This Chapter 11 case was filed on August 5, 2011.

       2.      On January 27, 2012, Dormer filed his Second Amended Plan of Reorganization

(the “Plan”). Bank of America was listed as a creditor under Class 60 of the Plan.

       3.      Bank of America filed certain objections to the Plan. With regard to the Class 60

Claim secured by 2467 Yale, Memphis, Tennessee, Dormer and Bank of America resolved the

objection by making modifications to the treatment of the Class 60 claim as set forth in the Agreed

Order entered on June 12, 2012 [D.E. 554].

       4.      On August 30, 2012, the Court entered its Order Confirming Plan [D.E. 652].


       5.      The effective date of the Plan was October 15, 2012.

       6.      Ditech Financial LLC, as assignee of Bank of America, has failed to provide correct

itemized statements of the outstanding loan balances prior to the effective date of the Plan.
    Case 11-27934       Doc 807      Filed 10/02/18 Entered 10/02/18 14:20:09            Desc Main
                                      Document     Page 2 of 3


           7.    In spite of repeated communications requesting that Ditech recognize the effect of

  the confirmed Plan, adjust its records accordingly, and provide correct statements, it has failed to

  do so.

           8.    The Reorganized Dormer moves the Court to compel Ditech to comply with the

  terms of the Agreed Order of June 12, 2012 and the Order Confirming Plan.

                 WHEREFORE, Dormer prays that the Court make a determination that the principal

  balance owed to Ditech Financial LLC is as set out in the Agreed Order resolving its Objection to

  Confirmation as of the Effective Date and that all payments due under the Plan are current, that the

  Court compel Ditech to comply with the terms of the Agreed Order of June 12, 2012 and the Order

  Confirming Plan and provide correct statements, and for such other relief to which he may be entitled.



                                              Respectfully submitted,

                                              BEARD & SAVORY, PLLC

                                              /s/ Russell W. Savory

                                              Russell W. Savory (12786)
                                              Attorney for Arnold R. Dormer, Jr.
                                              119 South Main Street, Suite 500
                                              Memphis, TN 38103
                                              901-523-1110



                                     CERTIFICATE OF SERVICE

       I, Russell W. Savory, do hereby certify that a true and genuine copy of the foregoing pleading

has been served on following parties by electronic notice or U.S. Mail, this 2nd day of October, 2018:

Ditech Financial LLC
PO Box 6176
Rapid City, SD 57709-6176
Case 11-27934   Doc 807   Filed 10/02/18 Entered 10/02/18 14:20:09   Desc Main
                           Document     Page 3 of 3




                                 /s/ Russell W. Savory
                                 ____________________________________
                                 Russell W. Savory
